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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                  No. 1:19-CR-10080-NMG

 GREGORY COLBURN et al.,

                   Defendants



                  MOTION FOR LEAVE TO WITHDRAW APPEARANCE

         Elliot M. Weinstein hereby requests leave to withdraw as counsel for Defendant Gamal

Abdelaziz in the above-captioned matter. In support of this request, the undersigned states that

Mr. Abdelaziz will continue to be represented by Brian Kelly, Joshua Sharp, and Lauren

Maynard of Nixon Peabody LLP, and Robert L. Sheketoff.



Dated: August 19, 2021                                     Respectfully submitted,

                                                           /s/ Elliot M. Weinstein
                                                           Elliot M. Weinstein (BBO# 520400)
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the forgoing was filed electronically on August 19, 2021,
and thereby delivered by electronic means to all registered participants as identified on the
Notice of Electronic Filing.


                                                            /s/ Elliot M. Weinstein
                                                            Elliot M. Weinstein
